






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-06-00686-CR







Eric Carter, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT


NO. D-1-DC-06-203219, HONORABLE FRED A. MOORE, JUDGE PRESIDING







M E M O R A N D U M    O P I N I O N



Eric Carter's counsel timely filed a notice of appeal following Carter's conviction for
possession of cocaine.  The trial court certified that this is a plea-bargain case, and Carter has no
right of appeal.  The notice of appeal states, however, that Carter intends to appeal the overruling
of his pretrial motion to suppress.  See Tex. R. App. P. 25.2(a)(2)(A).

The appeal is abated.  If this was a plea-bargain case (as the judgment reflects), but
matters (such as a motion to suppress evidence) were raised by written motion filed and ruled on
before trial and not withdrawn or waived, Carter has the right of appeal, and the court shall prepare
and file an amended certification so stating.  If the trial court remains satisfied that Carter has no
right of appeal, it shall confirm its original certification in writing.  A copy of the amended
certification or written confirmation shall be forwarded to the Clerk of this Court no later than
December 19, 2006.



				___________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Filed:   December 5, 2006

Do Not Publish


